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                                                                     October 15, 2020

BY ECF
The Honorable Judge Sidney H. Stein
United States District Judge
Southern District of New York                                              MEMO ENDORSED
500 Pearl Street
New York, NY 10007

RE:    United States v. Desirae Schneider
       20 Cr. 325 (SHS)

Dear Judge Stein,
        I write to request a temporary modification to Desirae Schneider’s bail conditions in the
above-captioned case to allow Ms. Schneider to drive to Astoria, Queens (15 minutes away from
her home) on Friday, October 16, 2020. Pretrial services and the Government do not object to
this request.
        On March 16, 2020, Ms. Schneider was presented in Magistrate Court. The following bail
conditions were set and subsequently met:

         $50,000 personal recognizance bond to be co-signed by two financially
         responsible persons; compliance with pre-trial supervision and mental health
         treatment as directed; surrender of travel documents with no new applications
         and travel restricted to the Southern District of New York; no contact with the
         alleged victim outside the presence of counsel; surrender keys to the
         complainant’s home; continued employment; no “dark web” use; no possession
         of firearms/destructive devices/other weapons; and GPS monitoring.
       On June 22, 2020, Magistrate Judge Gorenstein granted Ms. Schneider’s request for a
temporary bail modification to allow her to travel to Milford, Connecticut from Saturday, June
27 through Sunday, June 28 to attend a small outdoor wedding. Ms. Schneider attended the
wedding without incident. On July 29, 2020, the Court granted Ms. Schneider’s request for a
temporary bail modification to enable her to travel to Illinois to visit her family for one week in
August 2020. Ms. Schneider planned this trip in consultation with her pretrial services officer.
On August 6, 2020, the Court granted Ms. Schneider’s request for a temporary bail modification
to enable to her drive to Milford, Connecticut for a small birthday gathering with friends on
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August 9, 2020. On September 18, 2020, the Court granted Ms. Schneider’s request for a
temporary bail modification to enable her to drive to Milford, Connecticut to visit friends on
September 20, 2020. Since the start of this case, Ms. Schneider has remained in consistent
compliance with the conditions of her release.
        Ms. Schneider now respectfully requests a temporary bail modification to enable her to
drive to Astoria, Queens to see friends on Friday, October 16, 2020. The complainant in this case
will not be there.


Respectfully submitted,

/s/
Marne Lenox
Assistant Federal Defender
(212) 417-8721
                                             SO ORDERED:


                                             _______________________________
       Dated: New York, New York             HONORABLE SIDNEY H. STEIN
              October 15, 2020               United States District Judge




cc:    Rebecca Dell, Assistant U.S. Attorney (by ECF)
       Jonathan Lettieri, Pre-Trial Services Officer (by email)
